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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                               )       Chapter 11
In re:                                                         )
                                                               )       Case No. 18-10512 (KBO)
Zohar III, Corp., et al.,1                                     )
                                                               )       Jointly Administered
                                      Debtors.                 )
                                                               )
                                                               )

                                            NOTICE OF SERVICE

         PLEASE TAKE NOTICE that on April 24, 2020, the debtors and debtors in

possession in the above-captioned Chapter 11 cases (collectively, the “Debtors”), by and

through their undersigned counsel, caused the following discovery requests:

Debtors’ Request for Production of Documents Directed to (I) PPAS and (II) the
Patriarch Collateral Managers

to be served via the manner indicated upon the following counsel of record:

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  The Debtors, and, where applicable, the last four digits of their taxpayer identification number are as follows: Zohar
III, Corp. (9612), Zohar II 2005-1, Corp. (4059), Zohar CDO 2003-1, Corp. (3724), Zohar III, Limited (9261), Zohar II
2005-1, Limited (8297), and Zohar CDO 2003-1, Limited (5119). The Debtors’ address is 3 Times Square, c/o FTI
Consulting, Inc., New York, NY 10036.

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Dated: April 24, 2020            YOUNG CONAWAY STARGATT & TAYLOR, LLP
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